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                                                                               The Honorable James L. Robart
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 6
                                      UNITED STATES DISTRICT COURT
 7                                   WESTERN DISTRICT OF WASHINGTON
                                               AT SEATTLE
 8
      VHT, INC., a Delaware corporation,
 9                                                                 No. 2:15-cv-1096-JLR
                                     Plaintiff,
10                                                                 SECOND AMENDED
               v.                                                  COMPLAINT FOR
11                                                                 COPYRIGHT INFRINGEMENT
      ZILLOW GROUP, INC., a Washington
12    corporation; and ZILLOW, INC., a Washington                  JURY DEMAND
      corporation,
13
                                     Defendants.
14

15

16             Plaintiff VHT, Inc., d/b/a VHT Studios (“VHT”) by its undersigned attorneys, Davis

17    Wright Tremaine LLP, as and for its second amended complaint against defendants Zillow

18    Group, Inc. (“Zillow Group”) and Zillow, Inc. (“Zillow, Inc.” and Zillow Group, “Zillow”),

19    alleges as follows:

20                                                INTRODUCTION
21             1.       This is an action arising from Zillow’s massive and intentional infringement of

22    copyrights that VHT owns in thousands of unique photographic images of real estate properties

23    around the United States. Zillow claims to be the world’s largest online marketplace for real

24    estate property listings, but as its CEO has publicly admitted, “we sell ads, not houses.”1

25

26
      1
27     Ben Lane, Housing Wire.com, Zillow CEO: “We sell ads not houses” (quoting Zillow CEO Spencer Rascoff)
      http://www.housingwire.com/articles/33882-zillow-ceo-we-sell-ads-not-houses.
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 1    Zillow’s infringement arises principally from two distinct unauthorized uses of VHT-owned

 2    photographs.

 3             2.       First, Zillow continues to display VHT-owned photographs on its central listing

 4    site for the sale and rental of properties (“the Listing Site”) after the properties depicted in those

 5    photographs are no longer on the market. As Zillow well knows, VHT – the leading full-

 6    service provider of professional photographs for the real estate industry – owns the copyrights

 7    in many of these photographs.          Zillow is also abundantly aware that the VHT-owned

 8    photographs transmitted by listing agents and brokers to the Zillow Listing Site are licensed by

 9    VHT only for purposes of marketing the properties for sale and the broker or agent who is

10    representing that property (VHT’s clients). Zillow’s continued display of not-for-sale listings

11    on the Listing Site – including VHT’s photographs – is not for the purpose of marketing the

12    properties, but to enhance Zillow’s own web presence and allow it to sell more advertising to

13    real estate agents, mortgage brokers, home improvement businesses, and others.

14             3.       Second, Zillow uses VHT-owned photographs on Zillow Digs – an independent

15    section of the Zillow website and a stand-alone mobile app (together, the “Digs Site”) – which

16    showcases groups of photographs of particular elements of home design, such as kitchen

17    countertops, plumbing fixtures, or art deco sofas, and pairs them with marketing for vendors

18    who sell the goods depicted in the photographs or offer related services.

19             4.       With full knowledge of the limited scope of the VHT license, Zillow initially

20    launched its Digs Site populated with thousands of VHT-owned photographs taken from the

21    Listing Site – not for the purpose of marketing the subject properties – but rather for the

22    purpose of promoting design elements depicted in these photographs. Zillow also now actively

23    induces users of the Listing Site to themselves select VHT-owned images for Digs and Zillow

24    itself picks images to display publicly on the Digs Site from those user selections.

25             5.       As of today, VHT’s photographs remain on the Digs Site and on the Listing Site

26    for homes that are not currently for sale. VHT’s photographs are extremely valuable assets,

27    each of which has independent economic value for multiple purposes. VHT is just now poised
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 1    to leverage the very significant economic value of these photographs. It has taken great pains

 2    to get to this point.          It currently offers listing agents and brokers non-exclusive license

 3    agreements that are specifically tailored to permit use of VHT’s photographs only for the

 4    marketing of the properties listed for sale and the broker or agent representing those specific

 5    properties. VHT retains control over all other and future use of these photographs to maximize

 6    its future business prospects and to ensure it can make its own business decisions as to the

 7    proper manner, means and extent of future exploitation of these photographs, both individually

 8    and as a database.

 9             6.       That Zillow knew the value of VHT’s photographs cannot be questioned.

10    Shortly after it launched the Digs Site in 2013, Zillow and VHT specifically discussed the

11    possibility of Zillow licensing VHT’s photographs for use on the Digs Site. No deal was ever

12    reached because Zillow advised VHT at that time that it had decided not to use the VHT

13    photographs displayed on the Zillow Listing Site on the Digs Site. Yet, that is exactly what

14    Zillow did and continues to do, without license or authority, and in blatant derogation of VHT’s

15    copyrights.

16             7.       Despite transparent efforts to immunize itself from copyright infringement

17    claims by pointing its corporate finger at its users and the listing agents and brokers, and those

18    acting on their behalf, who post their photographs on Zillow to sell their properties, it is Zillow

19    itself that originally posted many of VHT’s images to the Digs Site; Zillow who reviews photos

20    saved or selected by users and selects some of them for display to the general public on the

21    Digs Site; and it is Zillow itself who marks properties “sold” or “off market” but nonetheless

22    leaves the photographs of those properties on the Listing Site, making no effort whatsoever to

23    remove those images from either the Digs Site or the Listing Site once properties are sold.

24    Zillow induces users to post images to the Digs Site; it uses or plans to use those images to

25    induce advertisers and investors to fill Zillow’s coffers with advertising revenue; and it tags and

26    groups the photographs and pastes promotions for third-party vendors directly on top of VHT’s

27    images. Zillow cannot blame others for its own brazen theft.
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 1             8.       As detailed hereinafter, VHT’s analysis to date of the many photographs on the

 2    Zillow Digs Site has revealed a minimum of 19,622 individual VHT images infringed on the

 3    Digs Site. VHT’s analysis to date of the many photographs included in those portions of the

 4    Listing Site that are not advertising homes currently for sale revealed a minimum of 48,230

 5    individual VHT images infringed on the Listing Site. Despite notice, Zillow continues to post

 6    VHT images to the Digs Site and fails to remove VHT images from the Listing Site when a

 7    property is off-market or sold and so, additional infringements occur daily. VHT intends to

 8    further update and amend this Complaint accordingly to reflect all of these additional

 9    infringements through trial of this action.

10                                      JURISDICTION AND VENUE
11             9.       This is a civil action seeking damages and injunctive relief for copyright

12    infringement under the Copyright Act, 17 U.S.C. § 101 et seq.

13             10.      This Court has original subject matter jurisdiction over all claims pleaded herein

14    pursuant to 28 U.S.C. §§ 1331 and 1338(a).

15             11.      This Court has personal jurisdiction over defendants. Defendants Zillow Group

16    and Zillow, Inc. do continuous and systematic business in Washington State and in this

17    District. They have their principal places of business in this District, employ personnel in this

18    District, have transacted business in this District in connection with the matters giving rise to

19    this suit, and have committed infringing acts within this District.

20             12.      Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b)(1) and (2) and

21    28 U.S.C. § 1400(a).

22                                                  PARTIES
23             13.      Plaintiff VHT, a Delaware corporation with its principal place of business in

24    Rosemont, Illinois, is the leading full-service provider of professional photographs for the real

25    estate industry. VHT and its predecessor company have been in business since 1998 and VHT

26    derives most of its income from shooting and licensing those photographs nationwide.

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 1             14.      Defendant Zillow, Inc. is a Washington corporation with its principal place of

 2    business in Seattle, Washington. Zillow claims to be the leading online real estate purchase,

 3    sale and rental marketplace. It also claims to have partnered with the owners of over 180

 4    newspapers and with Yahoo! Real Estate to create the largest real-estate advertising network on

 5    the web.

 6             15.      Defendant Zillow Group was formed in 2014, following the announcement of

 7    the planned merger of Zillow, Inc. and Trulia, Inc. (“Trulia”). Zillow Group is a Washington

 8    corporation, with its principal place of business in Seattle, Washington. Following the closing

 9    of the merger transaction on or about February 17, 2015, Zillow Group owns 100% of the stock

10    of both Zillow, Inc. and Trulia. The Listing Site and the Digs Site that are the subject of this

11    action are controlled by Zillow, Inc. On information and belief, Zillow, Inc. is currently a

12    wholly-owned subsidiary of Zillow Group, which controls or has the power to control Zillow,

13    Inc. with respect to the operation of the Digs Site and the Listing Site.

14                                       FACTUAL BACKGROUND
15             A.       VHT’s Business Model
16             16.      VHT is the leading full-service provider of visual marketing services specially

17    designed for the real estate industry.      VHT serves over 75,000 real estate professionals

18    nationwide by commissioning high quality photographs of properties that listing agents and

19    brokers have listed for sale, and then licensing them the right to use to those photographs to

20    market the properties for sale.

21             17.      When a real estate broker or an individual agent prepares to put a house on the

22    market, one of the first and most important steps she or he needs to undertake is to obtain

23    photographs of that property. In today’s world, nearly every home buyer begins their search on

24    the Internet rather than in person, which makes having high-quality photographs of the property

25    a paramount concern for home sellers and their listing agents and brokers. In order to attract

26    buyers, listing agents and brokers need photographs that are attractive, and that effectively use

27    lighting and camera angles to best showcase the property.               The properties must be
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 1    photographed thoroughly, covering interior and exterior spaces, and highlighting the positive

 2    features that are unique to each property.

 3             18.      To achieve these results, listing agents and brokers need photographs taken by

 4    experienced professional photographers. Many agents and brokers turn to VHT to provide

 5    them with professional photographs of the highest quality. VHT has invested considerable

 6    resources in building a network of reliable, highly-skilled photographers, who are independent

 7    contractors. Not only must these professionals be talented and experienced photographers,

 8    knowledgeable about real estate and capable of taking high-quality images, they also must be

 9    extremely trustworthy. People allow photographers into their homes because they recognize

10    that photographs are crucial to selling a property in today’s Internet-driven marketplace, and

11    listing agents and brokers rely on VHT’s trusted network to insure that this process is

12    conducted in a secure and professional manner. Therefore, VHT conducts background checks

13    on and/or otherwise investigates each of the photographers it contracts, reviews their portfolio

14    of work, and provides training for them.

15             19.      The photographers receive a monetary payment from VHT for each shoot they

16    conduct and, in exchange, all photographs they take of the properties are owned by VHT.

17    Under the terms of the photographers’ contracts, these photographs are created as works-for-

18    hire for VHT’s benefit and subject to its ownership.          For the avoidance of doubt, the

19    photographers also assign any arguable rights in those photographs to VHT by contract. Thus,

20    VHT owns all copyright interest in and to all of these photographs.

21             20.      VHT takes these pains to obtain and retain ownership of its photographs for

22    good reason. The professional-quality photographs of real property it commissions are the

23    primary asset VHT owns, and the entire basis of its business model. VHT invests substantial

24    resources to that end, including but not limited to creating and maintaining its network of

25    photographers, the relationships it has cultivated with listing agents and brokers, its state-of

26    the-art post-production facility and its sophisticated website. VHT has invested these resources

27    and years of “sweat equity” into creating this system, not just so it can license the photographs
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 1    to listing agents and brokers, but also because each of the photographs in its database has

 2    additional, independent value beyond its initial use to market property listed for sale.

 3             21.      VHT places a copy of the photographs it commissions, owns and selects for

 4    dissemination (as described below) into a master database that currently contains more than 4

 5    million unique images of the interiors and exteriors of residential properties. The photographs

 6    are extremely high-quality, professionally taken and digitally finished to meet the highest

 7    aesthetic standards. VHT believes that its database is the largest of its kind in the country.

 8             22.      The millions of photographs in the VHT database have significant monetary

 9    value, both individually and as a collective whole. Professional photographs like those in

10    VHT’s database are in high demand in the marketplace and are used everywhere, from listing

11    agents’ and brokers’ active property listings, to television shows, to magazines, to websites.

12             23.      It is for this reason that VHT grants all but one of its brokerage clients only a

13    non-exclusive license to use the photographs for the narrowly limited purpose of marketing the

14    specific properties they depict and the listing broker, and then only while those properties are

15    on the market. VHT retains ownership of the copyright in these photographs so it can realize

16    the full fruits of its labors by licensing the photographs in its database, either collectively or

17    individually, to third parties for a myriad of other purposes.

18             24.      But VHT has been, and continues to be, deprived of the fruits of those labors

19    because Zillow has been stealing its photographs en masse and illegally using them for its own

20    profit and gain, as hereinafter detailed.

21             B.       Creation of VHT’s Photographs
22             25.      The process begins when a listing agent or broker contacts VHT and requests

23    photographs of a particular property. VHT then sends one of its photographers to the site of the

24    property to do the photo shoot, capturing high-quality images of both the interior and exterior

25    of the property.

26             26.      VHT maintains its own state-of-the-art production studio. Once a photographer

27    transmits to VHT the photographs of a particular property s/he has been commissioned to take,
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 1    the VHT studio then selects the best of them and digitally edits and enhances those images

 2    selected for aesthetic purposes.

 3             27.      When the photographs are ready for dissemination, high-resolution digital

 4    copies are uploaded to the VHT website, where they can be accessed by the listing agent or

 5    broker licensed to use them to market the subject property.         A typical shoot results in

 6    approximately 16 finished, high-quality photographs of each property. Prices paid by VHT’s

 7    customers vary, but generally range from $60-$600 per property or $10 to $100 per

 8    photograph.

 9             C.       VHT’s Copyright Registrations
10             28.      Given the unique and valuable nature of its photographs, VHT takes all steps

11    necessary to protect its rights in and to those photographs.

12             29.      Because of the sheer volume of photographs at issue—over 4 million images in

13    its database to date – VHT registers its copyrights in those images (both individually and as a

14    whole) by filing periodic group registrations with the United States Copyright Office. It began

15    filing its applications to register the photographs in its database in January of 2014. As VHT

16    continues to create new photographs, it has been filing additional registrations, generally on a

17    quarterly basis. In addition, because these photographs have independent economic value to

18    VHT long after the property has been sold, in 2014, VHT also filed applications to register

19    many of the photographs that were already in its database before it started filing on a periodic

20    basis. As of today, VHT has filed applications to register photographs in its database created

21    from the beginning of 2010 through the end of the first quarter of 2016. True and correct

22    copies of the applications for VHT’s registrations filed through the end of the first quarter of

23    2016 are annexed hereto as Exhibits 1-13.

24             30.      Although the Copyright Office initially denied eight of VHT’s applications on

25    technical grounds, VHT requested reconsideration, as permitted by Copyright Office

26    procedures. On reconsideration, the Copyright Office determined that it would reverse the

27    denials of some of those applications and issue registrations in due course, and subsequently
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 1    issued registrations for seven of VHT’s applications; others are still under consideration on

 2    review, again on technical issues only. True and correct copies of the granted applications,

 3    stamped with the registration numbers assigned by the Copyright Office, are annexed hereto as

 4    Exhibit 14.

 5             31.      While the request for reconsideration was pending, on April 18, 2016, VHT

 6    served notification of the pendency of this action on the Copyright Office, pursuant to 17

 7    U.S.C. 411(a) and 37 C.F.R. § 205.13. The sixty-day deadline imposed by those provisions for

 8    the Copyright Office to appear in this action passed on June 17, 2016 but the Office did not

 9    elect to appear. If and to the extent any of the registrations on the remaining applications do

10    not timely issue, VHT will ask the Court to determine registrability as expressly provided for in

11    17 U.S.C. 411(a).

12             32.      VHT has duly maintained the copyrights that it has registered and applied to

13    register with the Copyright Office, which provide valid and subsisting copyright protection for

14    each of the photographs therein.

15             D.       VHT’s Licensing of Images for Use In Marketing Properties Listed for Sale
16             33.      Listing agents and brokers either hire VHT on a project-by-project basis, or

17    enter into longer-term umbrella agreements with VHT under which they automatically contract

18    with VHT to provide photographs of some or all new properties the agent or broker represents;

19    VHT grants the listing agent or broker a non-exclusive license that gives them the right to use

20    the photographs to market that property for sale. (The only exception is one brokerage agency

21    which, by agreement, owns the copyright in the photographs of its listings. Those photographs

22    are not the subject of VHT’s copyright applications, are not maintained in the VHT database,

23    and no allegation of copyright infringement of that brokerage’s photographs is made herein).

24    (see ¶ 8 and Exhibits 15-16).

25             34.      The umbrella agreements provide that VHT licenses the photographs to the

26    listing agent or broker for the limited purpose of “the sales and marketing of the subject

27    property or the company/agent representing the property.” The scope and term of this umbrella
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 1    license, both for marketing the property and for marketing the agent “representing” the

 2    property, is, by definition, limited to the time while the property is on the market and the agent

 3    is trying to sell it.

 4             35.      For those listing agents and brokers who contract with VHT on a one-off basis,

 5    the Terms of Use on the VHT website govern their use of the VHT images. Those Terms of

 6    Use provide that “[a]ll images and media (‘Content’) created by VHT is the sole property of

 7    VHT. VHT retains ownership and licensing rights to all Content. Content is made available to

 8    clients for property specific marketing purposes only. Any publication of content for non-

 9    specific property marketing purposes is strictly prohibited by law without the express written

10    consent of VHT.” See https://www.vht.com/Terms-Of-Use.aspx.

11             36.      The listing agents and brokers then incorporate VHT’s photographs into their

12    property listings and, in many cases, send those listings to Multiple Listing Services

13    (“MLS’s”). MLS’s are database services that aggregate property listings for the convenience of

14    real estate industry professionals.       Generally speaking, listing agents and brokers pay

15    membership dues to join an MLS, which allows them to upload all of their new listings to the

16    MLS’s database. Some MLS’s then serve as a “middleman” by bundling a large number of

17    listings together and transmitting them to consumer-facing real-estate websites such as Zillow,

18    and to other brokers.

19             37.      In many cases, MLS’s feed their aggregated listings to an additional

20    “middleman” such as ListHub, which has been described as a “listing syndicator.” ListHub

21    receives the data feeds from many different MLS’s and aggregates them into an even larger

22    bundle of listings, which it then provides to consumer-facing websites such as Zillow in a daily

23    “feed.” There are approximately 800 separate MLS’s in the country, many of which ultimately

24    feed (whether through ListHub or directly) into consumer-facing sites.

25             38.      In this way, the listing agents and brokers are able to utilize VHT’s photographs

26    for the licensed purpose, i.e., to market their properties for sale.

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               E.       Independent Economic Value of VHT’s Photographs
 1
               39.      Notwithstanding the group registration of its copyrights, each of the photographs
 2
      in the VHT database has independent economic value, both on an aggregate basis and/or on a
 3
      per photograph basis for various purposes, including but not limited to home design, use in
 4
      television or film, on news, entertainment and social media websites, and on mobile apps;
 5
      indeed, in virtually any other medium where there is a need for high-quality photographic
 6
      content.
 7
               40.      Over the past several years, VHT has been approached by various third parties
 8
      about potential licenses of some or all of its photographs for purposes other than use in active
 9
      real estate listings, including requests to potentially license the entire database as a resource for
10
      websites and other media entities that require a large supply of professional photographs to
11
      create visually-striking content for their audiences. In addition, VHT has been approached by
12
      TV producers about the possibility of licensing photographs from its database for use on
13
      lifestyle and design programs. VHT has also licensed certain of its photos on an individual or
14
      small-group basis, including for a coffee table book and a residential community website.
15
               41.      For example, both HGTV and Better Homes and Gardens have approached VHT
16
      about potentially licensing access to its entire database for use in connection with proposed web
17
      pages for home design applications, such as remodeling and/or redecorating projects.
18
               42.      In or around February of 2013, shortly after Zillow launched the Digs Site,
19
      Zillow and VHT began discussing the possibility of Zillow licensing VHT’s images for use on
20
      the Digs Site. Although the negotiations never advanced to the point of monetary offer or
21
      demand, the mere fact that Zillow discussed a license with VHT demonstrates both that Zillow
22
      knew it needed permission to use the photographs on the Listing Site for the Digs Site, and that
23
      Zillow recognized that those photographs have independent economic value, either on a
24
      database or individual license basis. When Zillow terminated these negotiations in May 2013,
25
      it advised VHT that it did not intend to use photographs from the Listing Site on the Digs Site.
26
      Yet that is exactly what Zillow did: without obtaining a license from VHT, Zillow used
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 1    thousands of VHT’s photographs on the Digs Site in order to line its own pockets, in willful

 2    infringement of VHT’s copyrights.

 3             43.      As more fully described hereinafter, Zillow’s own unauthorized use of VHT’s

 4    images on both the Listing Site and the Digs Site also underscores the independent economic

 5    value in each of the photographs. Zillow monetizes many of the VHT photographs which

 6    appear on the portions of the Listing Site that do not advertise homes for sale by pairing them

 7    with advertisements for real estate agents and brokers who may or may not have ever

 8    represented the property, as well as mortgage brokers, home improvement services, and other

 9    related businesses.

10             44.      Zillow also monetizes some of the VHT photographs which appear on the Digs

11    Site by pairing them with vendors who sell goods and services depicted in, or illustrated by,

12    those photographs; in some cases, Zillow actually implants those promotions directly into

13    VHT’s copyright-protected photographs. While Zillow claims that in most cases these are not

14    paid advertisements, it admits that it has or has had paid arrangements with a few vendors and

15    has entered a partnering deal with Amazon to sell other products depicted in these photographs.

16    Upon information and belief, Zillow plans and intends to solicit many more paid

17    advertisements for the Digs Site and to monetize the site in other ways.

18             F.       Zillow’s Overall Business Model
19             45.      Zillow, founded in 2005, features a “database of more than 110 million U.S.

20    homes - including homes for sale, homes for rent and homes not currently on the market.” See

21    http://www.zillow.com/corp/About.htm. Many of those homes are included in its Listing Site.

22             46.      Until recently, Zillow paid ListHub a fee to receive its feed of listings, but its

23    agreement with ListHub ended in April 2015 and, upon information and belief, Zillow now

24    obtains the bulk of its listings directly from MLS’s or from individual listing agents or brokers.

25             47.      Zillow has been on an aggressive campaign to consolidate and indeed

26    monopolize the market for online real estate listings. In April 2011, it acquired Postlets, an

27    online real estate listing creation and distribution platform. In November of that year, it
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 1    acquired Diverse Solutions, which provides technology and websites to real estate

 2    professionals. In May 2012, it acquired Rent Juice, an online real estate marketplace for rental

 3    listings. Next, Zillow acquired Buyfolio, a real estate shopping and collaboration platform in

 4    October 2012.        The very next month, it acquired both Mortech, a mortgage technology

 5    company, and Hot Pads, which provides real estate listings on a map-based web interface.

 6    Continuing its path to domination, in August 2013 Zillow acquired Street Easy, an online real

 7    estate sale and rental marketplace for New York City. Then in July of 2014, it acquired Retsly,

 8    which helps developers access data from MLSs. In February 2015, Zillow purchased Trulia, its

 9    biggest competitor for $3.5 billion. According to the New York Times, the new combined

10    entity, Zillow Group, will now have 137 million users, controlling 61% of the Internet market

11    for the real estate listings category, and “will dominate the traffic for online home listings.”2

12             48.      As described above, VHT licenses its photographs to listing agents and brokers

13    for the limited purpose of marketing the subject properties and, in some cases, the broker

14    representing that particular property. They in turn incorporate the photographs into their real

15    estate listings, which they then transmit, individually or through the MLS’s and/or ListHub, to

16    consumer-facing websites such as Zillow.              Because Zillow is by far the most prominent

17    consumer-facing real estate website, VHT’s photographs are routinely posted to Zillow’s

18    Listing Site as part of listing agents’ and brokers’ efforts to sell the properties depicted. There

19    are literally tens of thousands of VHT-owned photographs appearing on Zillow’s Listing Site at

20    any given time, many of properties that have already been sold.

21             G.       Zillow’s Listing Site
22             49.      Zillow’s Listing Site is a searchable database of property listings that consumers

23    can search by inputting their desired specifications (such as price range, location, number of

24    bedrooms, etc.).         Zillow then provides users with lists of properties matching those

25    specifications. For each property, Zillow displays relevant information, such as asking price,

26
      2
27      Michael J. De La Merced, The New York Times, July 28, 2014, http://dealbook.nytimes.com/2014/07/28/zillow-
      to-buy-trulia-for-3-5-billion/?_r=0.
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 1    square footage and amenities, and allows consumers to contact the listing agent directly.

 2    Zillow also offers a mobile app that provides substantially the same services.

 3             50.      The most prominent feature of the Listing Site is the display of multiple

 4    photographs of each of the listed properties. On information and belief, it is these photographs

 5    that attract users to the Zillow website.

 6             51.      Each listing on the Zillow Listing Site has several medium-sized photographs of

 7    the property displayed prominently at the top, as well as numerous smaller, thumbnail-sized

 8    photographs below. Users can scroll through the photographs in slideshow format and click on

 9    any of them to enlarge it so that it nearly fills the entire screen. Here is an example:

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               52.      Alongside each listing, Zillow displays a menu of other, similar properties, each
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      one also accompanied by thumbnail photographs. Clicking on those thumbnails takes the user
20
      to the listing page for that property where there are still more photographs, each of which can
21
      likewise be scrolled through and enlarged.
22
               53.      Zillow does not charge consumers to shop for real estate on its Listing Site.
23
      Rather, as its CEO recently admitted, Zillow makes its money primarily from advertising.
24
      Agents and brokers who pay for ads on Zillow’s Listing Site are advertised all over that Site,
25
      not just next to listings of properties those agents and brokers represent. Many times, the name
26
      and face of an agent or broker who has paid Zillow for advertising will appear next to a
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 1    particular property, even though that agent or broker has nothing whatsoever to do with that

 2    property. In those cases, the listing agent or broker to whom the listing actually belongs (and

 3    who has a license to use the photographs to sell the property) may be identified only in a

 4    barely-noticeable position at the bottom of the page.

 5             H.       Zillow’s Continued Inclusion of Photographs
                        of Sold Properties On the Listing Site
 6
               54.      Because most MLS’s require that individual listing agents and brokers keep
 7
      their listings in the feeds up to date, when an agent or broker sells a property, s/he promptly
 8
      either removes it from the feed or changes the description in the feed to indicate that it is
 9
      “SOLD.” Thus, the feed that Zillow receives from the MLS’s, the agents, and/or in the past
10
      from ListHub, explicitly advises Zillow which of the properties on its Listing Site are no longer
11
      on the market.
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               55.      Notwithstanding that express notice, Zillow does not remove all of the “SOLD”
13
      listings from its site. Instead, Zillow continues to display many of the SOLD listings with the
14
      accompanying photographs in an apparent effort to drive further web traffic to its site and to
15
      sell more ads. It is readily apparent that the continued appearance of these “SOLD” listings is
16
      not the result of some automated process by which any data that comes in through the feeds is
17
      automatically posted to Zillow; to the contrary, in some cases, Zillow appears to take
18
      affirmative steps to remove the listing agent’s or broker’s name from appearing on the property
19
      detail page (except when buried in a hidden Price/Tax History portion of that page), and yet
20
      fails to remove the listings or the photographs of the sold property, even when they have been
21
      removed from the feeds.
22
               56.      Zillow well knows that VHT owns the copyright in all of its photographs and
23
      that VHT licenses listing agents and brokers to use the photographs solely for marketing of the
24
      homes and the agent or broker representing that property. These facts are not only widely
25
      known in the real estate industry, but VHT has expressly informed Zillow of those facts.
26
      VHT’s ownership of the copyrights was central in the discussions between VHT and Zillow
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 1    back in the spring of 2013 about potentially licensing VHT images for use on the Digs Site, and

 2    VHT reiterated that point and highlighted the limitations on the licenses it grants to listing

 3    agents and brokers in letters from its counsel to Zillow detailed hereinafter.

 4             57.      Nonetheless, Zillow continues to date to use photographs owned by VHT in

 5    listings for properties that were sold weeks, months, or even years ago, even after notice and

 6    after the filing of the original complaint in this action. These uses of the photographs cannot

 7    serve to market or advertise the properties that are pictured because the properties have already

 8    been sold and there is no longer a listing agent or broker “representing” that property. To the

 9    contrary, Zillow appears to be selling advertising space to other agents and brokers, not the

10    listing agent or broker who had the listing, and features those advertisements alongside the

11    subject photographs.

12             58.      Zillow has also created an entire section of the Listing Site that is specially

13    dedicated to displaying images of homes that have already been sold: Recently Sold Homes.

14    Once a user has entered her zip code or address into the search box on the Zillow home page,

15    she is directed to a screen that contains a menu, allowing her to choose from options such as

16    “For Sale By Owner,” “For Sale By Agent,” “Foreclosures” or “For Rent.” Among these

17    choices is an option for “Recently Sold.” When the user checks the box marked “Recently

18    Sold,” she is directed to a page that consists entirely of homes that have already been sold and

19    that therefore are not on the market. Users can then click on any of the images associated with

20    the sold properties, many of which are owned by VHT, and enlarge them in the same way as

21    any other photo on the site.

22             59.      Zillow’s purpose in maintaining a section of the Listing Site dedicated to

23    showcasing photos of properties that have already been sold is clear, and it is decidedly not to

24    promote these properties or the listing agents and brokers who sold them. A cursory look at

25    one of the pages Zillow has created for these sold properties reveals the true purpose: selling

26    advertising to third parties.

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21             60.      VHT licensed the photos used in the listing above to real estate agent Paul

22    Barker with Baird & Warner-Lincoln Park. The use of the photographs cannot serve to market

23    this property, as it sold in September of 2015 and is not currently on the market. Zillow

24    appears to recognize this fact by encouraging viewers to contact agents (not Mr. Barker) not to

25    buy this home, but rather in search of “advice about selling a home similar to” the listed

26    property. Similarly, the use of the photos cannot serve to market Mr. Barker, as his name does

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 1    not appear on this portion of the Listing Site, and can only be found buried in the hidden

 2    Price/Tax History portion of that page.

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               61.      By scrolling down through this listing, the viewer sees advertisements for Zillow
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      Digs and, on information and belief, paid advertisements for remodeling services:
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19             62.      Further scrolling reveals links encouraging homeowners to list their home for
20    sale with Zillow-approved real estate agents, and to refinance their property, with a link to
21    Zillow’s mortgage listing tool. On information and belief, both real estate agents and mortgage
22    brokers pay Zillow to be listed on these sites. The page also includes advertisements for other
23    real-estate related businesses.
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               63.      Zillow’s use of VHT’s photographs on listings of properties which are not for
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      sale thus markets real estate agents, mortgage brokers, home remodelers, and Zillow Digs, but
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      not the property itself nor the agent or broker who represented it. This is another blatant
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 1    example of Zillow’s deliberate use of images owned by VHT in manner far outside the scope of

 2    VHT’s license for Zillow’s own profit without compensating the copyright owner.

 3             64.      In addition, Zillow uses VHT photographs in its “Make Me Move” function,

 4    another option that a user can select from the menu described above, which directs the user to a

 5    page full of properties, none of which are on the market. Instead, these are homes for which

 6    “the owner(s) set a ‘dream price’ - a price they'd be willing to sell it for, as well as to test the

 7    waters and gauge interest.” A dialogue box prompts the user to email the owner of the home to

 8    “find out more” about the property.      While the use of VHT’s photos in this section may, in

 9    some cases, result in owners of the properties putting their properties on the market, those

10    property owners do not own the copyright in the images and have no license to use them.

11    VHT’s license extended only to the listing agents and brokers who earlier represented the

12    property and only while they had the listing. Yet their names and contact information appears

13    nowhere on the “Make Me Move” pages.

14             I.       Zillow Digs
15             65.      In or around February of 2013, Zillow first introduced the Digs Site, a home
16    design section of its website that is separate from its Listing Site. Unlike the Listing Site,
17    which is devoted to listing properties for sale and advertises brokers and listing agents offering
18    similar properties, Digs is not designed for or aimed at the marketing of real property in any
19    way. Rather, Zillow touts Digs as a place where users can go to “[f]ind inspiration for your
20    home project.” http://www.zillow.com/digs/.
21             66.      Zillow has launched an aggressive marketing campaign to promote Digs,
22    including but not limited to promotional efforts by Zillow on Facebook and Pinterest. Zillow
23    also encourages its users to share photos from Digs on social media. Consequently, images
24    from Digs also appear on a wide variety of highly-trafficked sites and mobile applications such
25    as Twitter, Tumblr and Instagram.
26             67.      The home page of Zillow.com features a link at the top of the page labeled
27    “Home Design,” which leads users to the Digs Site.
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 1             68.      Once a user clicks on that link, s/he is directed to the main landing page of the

 2    Digs Site where s/he sees a screen filled with medium-sized photographs of all different

 3    elements of home design.          The user can scroll through thousands upon thousands of

 4    photographs grouped by Zillow to depict various elements of home design—everything from

 5    roofs to bathroom fixtures to kitchen tables, to chandeliers to dining room chairs to marble

 6    countertops. For example:

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20             69.      A menu on the left side of the Digs landing page allows the user to refine their

21    search in various ways. For example, a user can search for only “kitchens” or only items in a

22    “mid-range” budget, or only items in the “art deco” style.” The top of the page also has a

23    “search box” which allows users to enter their own search terms.

24             70.      The user can click on the images to view larger versions which appear centered

25    on a new screen page. Whenever a user clicks to view an enlarged photograph, s/he becomes

26    the target of advertisements or promotions that have absolutely nothing to do with the

27    marketing of the homes depicted in the photographs. These advertisements or promotions

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 1    appear in at least two different forms on the Digs website, both of which appear in the

 2    following screenshot.

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               71.      First, Zillow has affixed small bubbles to targeted areas of many of the enlarged
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      photographs, indicating where a particular product can be seen in the image. For example, a
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      picture of a bathroom might have bubbles marking the cabinets, the paint on the wall and tile in
16
      the shower. When a user clicks on the bubble, a box appears showing the name of the product,
17
      the price and a link to where users can buy the product directly from a vendor.
18
               72.      Second, to the right of the enlarged photo, under the heading “Recreate this
19
      look”, Zillow posts a list of vendors with prices and links to those vendors’ websites,
20
      advertising and promoting those vendors.
21
               73.      Zillow has publicly admitted that it has hired a team of designers to go through
22
      each photograph individually and insert the advertising bubbles, which it calls “product tags,”
23
      onto the copyright-protected photographs.3 Zillow can thus advertise or promote vendors based
24

25
      3
26     March 18, 2015 Zillow Press Release, “From Inspiration to Realization: Zillow Digs Now Helps Consumers Find
      Products Similar to Those Featured In Popular Home Design Photos.” Available at
27    http://zillow.mediaroom.com/2015-03-18-From-Inspiration-to-Realization-Zillow-Digs-Now-Helps-Consumers-
      Find-Products-Similar-to-Those-Featured-In-Popular-Home-Design-Photos.
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 1    on items that are depicted in the particular photograph, and their advertisements will then

 2    appear each time future users see the photograph on the Digs Site.

 3             74.      Zillow has carefully designed the Digs Site as a tool for it to sell advertising

 4    space, generating advertising revenue for itself from sources other than those trying to sell or

 5    rent out real estate. On information and belief, these features of the Digs Site have been

 6    intentionally designed to encourage browsing (and shopping). The more photographs on the

 7    site to browse, the longer users are likely to stay on the site, and thus Zillow can sell more ads

 8    at higher prices to vendors advertising the wares shown in the photographs or to others who

 9    advertise on the Zillow platform.

10             75.      Many of the images that Zillow displays on Digs are accompanied by

11    additional, smaller-sized photos from the same property as the featured image, under the

12    heading “More From This Home.” Although, upon information and belief, users who click on

13    the “More From This Home” photos are directed back to the Listing Site’s page for the subject

14    property, many users will, out of curiosity, look at the images distributed to and displayed on

15    the Digs Site, but never bother to click through, and therefore never see the page that actually

16    markets the home (assuming that it is still even on the market). Instead, the “More From This

17    Home” feature simply allows Zillow to use still more high-quality photographic images

18    belonging to VHT as an additional draw of user eyeballs to the Digs platform, increasing its

19    value to Zillow’s advertisers and investors.

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 1             76.      On information and belief, Zillow also uses a practice called Search Engine

 2    Optimization (“SEO”) so that Zillow’s links will be more prominently or more highly

 3    displayed in results on search engines such as Google. Having a large number of professional

 4    quality photographs on its site, with accompanying descriptions of the features in those

 5    photographs, regardless of whether the photographs are actually being used to market

 6    properties, necessarily increases Zillow’s ranking in search results.                It has been publicly

 7    reported that “Zillow dominates SEO in the real estate space.”4 On information and belief,

 8    Zillow touts its high-ranking position in web searches, driven in large part by its huge database

 9    of copyright-protected photographs owned by others, including VHT, to its investors and

10    advertisers.

11             J.       The Digs App
12             77.      Separate and apart from the Digs platform on the Zillow website (referred to

13    herein as “Digs Desktop”), Zillow also offers a mobile application by which users can access

14    Digs on their iPads and iPhones (the “Digs App”). The Digs App provides functionality that is

15    very similar to that of Digs Desktop, featuring the same types of advertisements, including both

16    advertising bubbles and “recreate this look” links to vendor websites.

17             78.      In addition, the Digs App offers a game that users can play using the

18    photographic images on Digs, called “Dueling Digs.” In the game, users are asked to pick their

19    favorite example of an image from a particular category – for example, their favorite “cottage

20    kitchen” – and Zillow displays two different photographs of kitchens from the Digs database;

21    the user is invited to eliminate whichever image she likes the least and the remaining image is

22    the “winner” of the “duel.” The rejected image is automatically replaced with a new image

23    which again faces off against the “winning” image. After several rounds of round-robin, the

24    tournament ends and the user is invited to type comments into a dialogue box explaining their

25    choice, or to “share” their “favorite” with other users.

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      4
27     Rohin Dhar, “The SEO Dominance of Zillow,” Pricenomics.com (Nov. 6, 2014). Available at
      http://priceonomics.com/theseodominanceofzillow/.
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 1             79.      The “Dueling Digs” game provides no opportunity whatsoever for users to view

 2    the underlying real estate listings from which the copyright-protected photographs have been

 3    taken. And like the rest of the Digs Site, the game has nothing whatsoever to do with

 4    marketing the underlying properties. It serves only as a means to keep people using the Digs

 5    App, remaining in the Zillow online universe, and thereby increasing the number of eyeballs

 6    for which Zillow can charge its advertisers. Indeed, Zillow itself has publicly boasted that “the

 7    Zillow Digs iPad App experiences 10 times the page views per session versus the desktop.”5

 8             80.      On information and belief, every time one of VHT’s copyrighted photographs

 9    appears on the Digs App, Zillow makes and distributes another copy of the infringing

10    photograph.

11             K.       Zillow’s Other Uses of VHT’s Photographs
12             81.      In addition to Digs and the Listing Site, Zillow uses VHT’s photographs in a

13    variety of ways which drive web traffic to Zillow without marketing the home for sale or the

14    agent who represents it.        For example, Zillow’s blog recently featured an online poll to

15    determine which home was the “Most Unique”:

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27     May 15, 2013 Zillow Press Release, “Zillow Digs' User-Generated Content Drives Rapid Growth.” Available at
      http://zillow.mediaroom.com/2013-05-15-Zillow-Digs-User-Generated-Content-Drives-Rapid-Growth.
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17             82.      VHT owns the photograph of home #2, which ended up winning Zillow’s poll.
18    At the time this poll appeared, that property was not for sale and the use of the photograph in
19    Zillow’s online poll therefore could not market it. On information and belief, this poll –
20    including VHT’s photograph – was emailed to thousands if not millions of people.                                 On
21    information and belief, Zillow’s other blog posts, email blasts, and other marketing efforts
22    similarly use VHT’s photographs. These uses impermissibly take VHT-owned photographs
23    and use them to market Zillow itself, rather than using them to market the homes for sale.
24             83.      In addition, certain photos that Zillow displays have been edited by Zillow using
25    a digital “sharpening” tool, which alters the coloration of individual pixels within the photo in
26    order to increase contrast and decrease blurring. In addition to the copies of the photos that it
27    actually displays, Zillow makes multiple duplicate copies of each image, which it stores in its
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 1    database. Both the creation of duplicate copies and the alteration of the images to create

 2    derivative works thereof are beyond the scope of the limited license granted by VHT.

 3             L.       Zillow’s Involvement and Control of Postings on the Digs Site
 4             84.      Photos on the Digs Site appear in one or both of two distinct sections of the site.

 5    The first, the “Public Board” is the main, publicly-facing page of the Digs Site. When a user

 6    clicks on the “Home Design” button on the Listing Site, which transfers them to the Digs Site,

 7    the first thing the user sees is the Public Board. The Public Board consists of thousands upon

 8    thousands of photos, any and all of which can be freely viewed by the general public.

 9             85.      On information and belief, when Zillow launched Digs, it initially populated the

10    Digs Public Board with photographs from the Listing Site. Thus, a vast quantity of the

11    photographs on the Digs Site were selected, copied and displayed by Zillow for uses that it

12    knew or should have known were outside the scope of the limited license the listing agents and

13    brokers had to use those photographs. At some point in late 2013, after VHT had expressly

14    told Zillow that the use of VHT-owned photographs on the Digs Site was unauthorized, Zillow

15    began encouraging users of its Listing Site to add photographs to the Digs Site. When an

16    image is added to Digs, whether by users or by Zillow itself, Zillow makes multiple duplicate

17    copies of that image for use on and in connection with Digs that are stored in its database.

18             86.      The second section of the site in which photos are displayed is Digs users’

19    “Personal Boards” (also referred to on the Site as “My Digs”). The Personal Boards are

20    webpages within Digs that are curated by a particular user. When a user sees a photo she likes

21    on the Digs Public Board, she need only click a button marked “Dig It” and a copy of the photo

22    is saved to that user’s Personal Board. In addition, since late 2013, when a user views a

23    photograph on the Listing Site, s/he is presented with a button marked “Add to Digs” or “Save”

24    or “Save Image.” If the user clicks on that button, the photograph is then saved directly to their

25    Personal Board on the Digs Site. A user’s Personal Board can also be viewed by that user’s

26    “followers.” That is to say, the photos that a user saves to her Personal Board can be seen by

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 1    anyone else in the general public who sets up a free Digs account and simply clicks a button

 2    marked “follow,” indicating that they would like to see content posted by that user.

 3             87.      Zillow itself also reviews all photos that users have saved from the Listing Site

 4    to their Personal Boards and selects those photos that Zillow would like to display to a wider

 5    audience. Zillow then reproduces the photos it has selected from the users’ Personal Boards on

 6    the Public Board.

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18             88.      Since sometime in 2014, Zillow has itself added images by using a process

19    which it refers to as “Implicit” or “Inferred” Digging. Namely, when a user starts to save an

20    image by clicking the “Save” button but does not complete the process by clicking “Save

21    Image to Zillow Digs” or “Add to Board” in the dialogue box that follows, Zillow deems the

22    image to merit further review for possible inclusion on the Digs public board. Zillow’s

23    employees review all such images that are “implicitly dug” in this way, selecting certain of

24    them to import into the Digs public board.

25             89.      Zillow tags many of the photos that appear on the Public Board with Digs

26    description tags (e.g., “living room,” “lamps,” “art deco”) that are viewable to all members of

27    the general public who are browsing on the Digs Site. If the user clicks on one of the
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 1    description tags, s/he is directed to another screen page with still more photographs of other

 2    items in that same product category.

 3             90.      On information and belief, the photographs added to the Digs Desktop by users

 4    and/or by Zillow itself are copied and then displayed with corresponding advertising, on the

 5    Digs App.

 6             91.      On all Boards on both the Digs Desktop and on the Digs App, Zillow has the

 7    right and ability to control what the users post, and actively induces them to post photographs

 8    by providing them with prominently placed buttons urging them to save every photograph,

 9    even photographs of homes that have already been sold, and exhorting users to “keep filling up

10    your board,” and reminding them that “tons more” images are available.

11             92.      Since Zillow knows that the Listing Site contains tens of thousands of VHT-

12    owned images and that VHT has licensed the use of those photographs solely for the marketing

13    of the subject properties, these exhortations to users are blatant invitations to post infringing

14    content. Indeed, Zillow even brags in the “About” section of its Listing Site that it features

15    photographs of “homes not currently on the market,” so by inviting users to take photographs

16    from its Listing Site and post them to the Digs Site, Zillow is specifically inducing users to post

17    material that Zillow knows is infringing or will be infringing as soon as the home is sold.

18             93.      Zillow continues to take active steps to monetize the specific infringing content,

19    even when posted by users. It does not passively host those images, but rather itself actually

20    goes through the photographs to select the ones appropriate for inclusion in the Digs Public

21    Board and to categorize them with its “tags” so that they are searchable by pre-defined groups

22    on the Digs Site, and can be married to advertisements and promotions based on that

23    categorization. In addition, Zillow has publicly admitted it uses a team of human designers to

24    go through the photographs and superimpose the “bubbles” on at least some of the photographs

25    so that users will click on them to see the prices for goods depicted in the photographs, along

26    with links to vendor websites where they can purchase those goods.

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 1             94.      On information and belief, the promotions which appear in the bubbles and

 2    alongside the images, are specifically matched to the particular photograph. That is to say, a

 3    picture of a kitchen will feature the names of vendors selling kitchen wares; a dining room

 4    picture will feature ads for sellers of home furnishings.

 5             95.      On information and belief, vendors are more likely to advertise their goods and

 6    services in connection with photographs that are of sufficient aesthetic quality to induce users

 7    to copy or recreate the look depicted in those photographs. The more high-end the vendor, the

 8    greater the need for eye-catching, high-quality photographs, and the more money Zillow can

 9    charge vendors for related advertising.

10             96.      Therefore, Zillow’s profits that it has earned and will continue to earn from the

11    advertising on Digs is directly attributable to the use of specific photographs owned by VHT.

12             M.       VHT’s Written Notices to Zillow and Zillow’s Knowing and Continuing
                        Intentional Infringement
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               97.      On or about July 7, 2014, VHT’s then attorneys sent a letter to Zillow
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      demanding that Zillow take down VHT-owned images of sold properties from the Listing Site
15
      and take down all VHT-owned images from the Digs Site. The letter expressly advised that
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      VHT owns and retains copyrights in those works and grants a license to its customers for use of
17
      the photographs in the sales or marketing of the subject properties, but that no other rights or
18
      uses are permitted without VHT’s prior written consent, nor are VHT’s clients permitted to
19
      assign their rights to any third-party without VHT’s written consent. Thus, as early as July 7,
20
      2014 (and, indeed, earlier than that, by reason of Zillow’s February 2013 discussions with VHT
21
      about licensing the VHT database for Digs as discussed above), Zillow was on notice of VHT’s
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      ownership of these images, the limited nature of the license VHT grants to its customers, and
23
      VHT’s objection to Zillow’s continuing display of those images.
24
               98.      By letter dated July 21, 2014, then counsel for Zillow responded to that VHT
25
      letter claiming, inter alia, that it could not evaluate the terms of the licenses without seeing
26
      copies of all of them and that “one sale or rental [of a property] does not foreclose additional
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 1    transactions on that property, and posted photos promote future sales and marketing of the

 2    imaged property, and other properties, for the real estate professional”.

 3             99.      VHT’s then counsel responded by letter dated July 28, 2014, specifically

 4    quoting the terms of the license that VHT grants to its customers. Nonetheless, Zillow failed

 5    and refused to remove the VHT-owned images from either the Listing Site or the Digs Site.

 6             100.     Thereafter, the original complaint in this action (limited to the Digs Site) was

 7    served on or about July 10, 2015, identifying 316 VHT-owned images that appear on the Digs

 8    Site and indicating that the complaint would be amended when, through the course of

 9    discovery, VHT was able to identify additional such images that had been and were being

10    infringed.

11             101.     Because Zillow took the position that it was entitled to the safe-harbor

12    protections of the Digital Millennium Copyright Act (“DMCA”) with respect to the Listing

13    Site, on or about November 19, 2015, counsel for VHT dispatched a letter demand, identifying

14    thousands of URLs with VHT-owned images on the Listing Site, depicting properties which

15    had already been marked sold or off the market. (That letter expressly stated that it was being

16    dispatched without waiver of VHT’s position that Zillow was not entitled to the safe-harbor

17    protection of the DMCA.)

18             102.     By letter dated December 2, 2015, counsel for Zillow responded, reiterating

19    Zillow’s position that it was in fact entitled to the protections of that safe-harbor and rejecting

20    VHT’s contention that its use was outside the scope of the license that VHT grants to its

21    customers.

22             103.     By letters dated March 10, 2016 and June 20, 2016 respectively, counsel for

23    VHT demanded that Zillow remove from the Listing Site images identified on accompanying

24    spreadsheets, depicting properties which had already been marked sold or off the market.

25             104.      On information and belief, to date, all of the VHT-owned images identified to

26    date (and others to be identified hereafter) continue to be displayed on both the Listing Site and

27    Digs Site.
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 1             105.     Even assuming arguendo that Zillow is an Internet service provider and is

 2    otherwise entitled to the benefits of DMCA safe-harbor, its failure to remove the aforesaid

 3    images in response to written notifications compliant with the statute, strips it of any such safe-

 4    harbor protection for user posts.

 5             N.       Specific Acts of Infringement Identified to Date
 6             106.     There are tens of thousands of photographs on the Digs Site at any given time, a

 7    substantial portion of which are photographs that were submitted to Zillow for use on the

 8    Listing Site in order to market the properties they depict. Given VHT’s leading role in creating

 9    and licensing to listing agents and brokers a significant number of the photographs that end up

10    on Zillow’s Listing Site and the professional quality of the VHT images, a large number of

11    VHT’s images are being used or have been used on the Digs Site over the past three years and

12    continuing to date.

13             107.     VHT has attempted to determine just how many of its photographs have been

14    infringed by Zillow and/or by users on the Digs Site by comparing the photographs it owns to

15    the photographs appearing on the Digs Site. VHT has thus far been able to identify 19,622 of

16    its photographs displayed on the Digs website (together with the images identified in Paragraph

17    109, the “Infringed Images”). Annexed hereto as Exhibit 15 is a spreadsheet listing each of the

18    specific Infringed Images identified on the Digs Site to date, the copyright application disc on

19    which that Infringed Image was submitted to the Copyright Office for registration, and a URL

20    at which that Infringed Image appears or has appeared during the past three years on the Digs

21    Site.

22             108.     VHT has also attempted to determine just how many of its photographs have

23    been infringed by Zillow on the Listing Site by comparing the photographs it owns to the

24    photographs appearing on portions of the Listings Site which do not market homes currently for

25    sale. To date, VHT has been able to identify 48,230 of its photographs displayed on those

26    portions of the Listings Site. Annexed hereto as Exhibit 16 is a spreadsheet listing each of the

27    specific Infringed Images identified on the Listing Site to date, the copyright application disc
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 1    on which that Infringed Image was submitted to the Copyright Office for registration, and a

 2    URL at which that Infringed Image appears or has appeared during the past three years on the

 3    Listing Site.

 4                                             CLAIMS FOR RELIEF
 5                                                     COUNT I
 6                                   (Direct Copyright Infringement – Listing Site)
 7             109.     VHT incorporates by reference paragraphs 1 through and including 108 set forth

 8    hereinabove, as if the same were fully set forth herein.

 9             110.     VHT is, and at all relevant times has been, the owner of all copyright interest in

10    and to each of its works at issue and the subject of pending registration issuance, and has the

11    exclusive rights under 17 U.S.C. § 106 to, inter alia, reproduce, publicly display and distribute

12    those works, and to create derivative works therefrom.

13             111.     Each of VHT’s works at issue is copyrightable subject matter under 17 U.S.C.

14    §102(a)(5).

15             112.     VHT has complied in all respects with the provisions of the Copyright Act and

16    all regulations thereunder, including timely applications to register its works and the copyrights

17    therein are valid and subsisting.

18             113.     Beginning at a time currently unknown, and continuing through the present,

19    defendants, without the permission or consent of VHT, and without authority, have caused

20    VHT-owned images to continue to appear on the Listing Site after the properties have been

21    sold, in some instances even taking affirmative steps to remove the listing agent’s or broker’s

22    name but failing to remove the listings or the photographs of the sold property, even when they

23    have been removed from the feeds provided by the MLS’s and even though defendants have

24    actual and constructive knowledge that these actions exceed the scope of the license granted by

25    VHT. On information and belief, Zillow has also kept archival copies of VHT-owned images

26    and later republished them without authorization long after the listing for the depicted property

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 1    expired.      By so doing, defendants have publicly reproduced, displayed and distributed

 2    unauthorized copies of the Infringed Images on the Listing Site.

 3             114.     Defendants’ conduct in connection with the Listing Site constitutes direct

 4    infringement of VHT’s exclusive rights under the Copyright Act to reproduce, publicly display

 5    and distribute the Infringed Images and make derivative works thereof under 17 U.S.C. §§ 106

 6    (1), (2), (3) and (5).

 7             115.     Defendants’ acts of direct infringement have been willful, intentional, and

 8    purposeful, in wholesale disregard of and indifferent to the rights of VHT.

 9             116.     As a direct and proximate result of defendants’ infringement of VHT’s

10    copyrights and exclusive rights under the Copyright Act, VHT is entitled to the maximum

11    statutory damages for each photograph infringed on the Listing Site, under and pursuant to 17

12    U.S.C. § 504(c), for those of the Infringed Images first infringed by Zillow after the effective

13    date of VHT’s registration thereof, or before the effective date, if the effective date is within

14    three months of first publication.

15             117.     Alternatively, at VHT’s election pursuant to 17 U.S.C. § 504(b) for all Infringed

16    Images on the Listing Site, and for any images first infringed by Zillow prior to the effective

17    date of VHT’s registration thereof (if the effective date is not within three months of first

18    publication), VHT is entitled to its actual damages, plus all of defendants’ profits attributable to

19    the infringements, in an amount to be proved at trial.

20             118.     Defendants’ conduct is causing, and unless enjoined by this Court will continue

21    to cause VHT great and irreparable injury that cannot be fully compensated or measured in

22    money. VHT has no adequate remedy at law.

23                                                 COUNT II
24           (Direct Copyright Infringement – Digs Public Board and “Dueling Digs” Game)
25             119.     VHT incorporates by reference paragraphs 1 through and including 108 set forth

26    hereinabove, as if the same were fully set forth herein.

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 1             120.     VHT is, and at all relevant times has been, the owner of all copyright interest in

 2    and to each of its works at issue and the subject of pending registrations, and has the exclusive

 3    rights under 17 U.S.C. § 106 to, inter alia, reproduce, publicly display and distribute those

 4    works, and to create derivative works therefrom.

 5             121.     Each of VHT’s works at issue is copyrightable subject matter under 17 U.S.C.

 6    §102(a)(5).

 7             122.     VHT has complied in all respects with the provisions of the Copyright Act and

 8    all regulations thereunder, including timely applications to register its works and the copyrights

 9    therein are valid and subsisting.

10             123.     Beginning at a time currently unknown, and continuing through the present,

11    defendants, without the permission or consent of VHT and without authority, have taken VHT-

12    owned images from the Listing Site and reproduced, displayed and/or distributed those images

13    and created unauthorized derivative works thereof, on the Digs Public Board where they are

14    viewable by the general public on both Desktop Digs and the Digs App, and where they are

15    used by Zillow to market its own business and services, not the subject properties, and to

16    generate revenues for Zillow, not VHT.

17             124.     Beginning at a time currently unknown, and continuing through the present,

18    defendants, without the permission or consent of VHT and without authority, have taken VHT-

19    owned images from the Digs Personal Boards and reproduced, displayed and/or distributed

20    those images and created unauthorized derivative works thereof, on the Digs Public Board,

21    where they are viewable by the general public through both Desktop Digs and the Digs App,

22    and where they are used by Zillow to market its own business and services, not the subject

23    properties, and to generate revenues for Zillow, not VHT.

24             125.     Beginning at a time currently unknown, and continuing through the present,

25    defendants, without the permission or consent of VHT, and without authority, have also

26    reproduced, displayed and/or distributed VHT-owned images, taken either from the Personal

27    Boards maintained by users on the Digs Site or from the Public Board on the Digs Site, and
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 1    used them to populate the “Dueling Digs” game in the Digs App, in which they are used by

 2    Zillow to market its own business and services, not the subject properties, and to generate

 3    revenues for Zillow, not VHT.

 4             126.     By so doing, defendants have:

 5                      a.       made unauthorized copies of the Infringed Images;

 6                      b.       publicly displayed unauthorized copies of the Infringed Images;

 7                      c.       distributed the Infringed Images; and

 8                      d.       created unauthorized derivative works.

 9             127.     Defendants’ above-described conduct constitutes direct infringement of VHT’s

10    exclusive rights under the Copyright Act to reproduce, publicly display and distribute the

11    Infringed Images, and to create derivative works therefrom, under 17 U.S.C. §§ 106(1), (2), (3)

12    and (5).

13             128.     Defendants’ acts of direct infringement have been willful, intentional, and

14    purposeful, in wholesale disregard of and indifferent to the rights of VHT.

15             129.     As a direct and proximate result of defendants’ infringement of VHT’s

16    copyrights and exclusive rights under the Copyright Act, VHT is entitled to the maximum

17    statutory damages for each photograph infringed on the Digs Site, under and pursuant to 17

18    U.S.C. § 504(c), for those of the Infringed Images first infringed by Zillow after the effective

19    date of VHT’s registration thereof.

20             130.     Alternatively, at VHT’s election pursuant to 17 U.S.C. § 504(b) for all Infringed

21    Images, and for any images first infringed by Zillow prior to the effective date of VHT’s

22    registration thereof, VHT is entitled to its actual damages, plus all of defendants’ profits

23    attributable to the infringements, in an amount to be proved at trial.

24             131.     Defendants’ conduct is causing, and unless enjoined by this Court will continue

25    to cause VHT great and irreparable injury that cannot be fully compensated or measured in

26    money. VHT has no adequate remedy at law.

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                                                  COUNT III
 1
                               (Contributory Copyright Infringement by Material
 2                                   Contribution – Digs Personal Boards )
 3             132.     VHT incorporates by reference paragraphs 1 through and including 108 and 120

 4    through and including 126 set forth hereinabove, as if the same were fully set forth herein.

 5             133.     If and to the extent VHT’s photographs were posted to the Digs Site (including

 6    both Desktop Digs and the Digs App) by Zillow Digs users, those users have infringed and are

 7    infringing VHT’s rights in its registered works by, inter alia, posting infringing copies of

 8    VHT’s copyrighted works onto their Personal Boards on the Digs Site (where they are viewable

 9    by other users of Digs) and publicly displaying such infringing copies, without authorization.

10    Those Zillow Digs users are consequently directly infringing VHT’s exclusive rights of

11    reproduction, distribution, and public display under 17 U.S.C. §§ 106(1), (3) and (5).

12             134.     Defendants are liable as contributory copyright infringers for the above-

13    described infringing acts of Digs users because they have enabled, facilitated, and materially

14    contributed to each of those acts of direct infringement.

15             135.     Defendants designed the Digs Site with features specifically intended to enable

16    and facilitate infringement, such as the ability for users to save copyright-protected images,

17    including the Infringing Images, from the Listing Site to the Digs Site (where they would be

18    used to market home goods) and to select particular images they favor on the Digs App.

19    Defendants do not themselves remove VHT images, or advise users that those images must be

20    removed from the Personal Boards, after the subject properties are sold. Defendants did all of

21    this with the specific intention of facilitating and enabling infringement.

22             136.     Defendants have actual and constructive knowledge that certain Digs users are

23    using the features provided by the Digs Site for the copying, distribution and public display of

24    VHT’s copyrighted works without VHT’s authorization or consent, as defendants know of the

25    limited scope of the VHT license and therefore know that that license is limited to use to

26    market the properties, not to market home design goods and services, nor for game play, and

27    not for any purpose whatsoever once the subject property has been sold.                       Despite this
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                                                                                    Davis Wright Tremaine LLP
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 1    knowledge, defendants have taken no steps to prevent users from using the Digs Site to

 2    infringe.

 3             137.     Acting with this actual and constructive knowledge, defendants have enabled,

 4    facilitated, and materially contributed to Digs users’ copyright infringement, which could not

 5    occur without defendants’ enablement.

 6             138.     Defendants directly profit from enabling users’ infringement, by inserting

 7    advertising that is directly tied to, and generated by reason of, specific Infringing Images.

 8             139.     Defendants’ acts of infringement have been willful, intentional, and purposeful,

 9    in wholesale disregard of and indifferent to the rights of VHT.

10             140.     As a direct and proximate result of defendants’ contributory infringement of

11    VHT’s copyrights and exclusive rights under the Copyright Act, VHT is entitled to the

12    maximum statutory damages for each photograph infringed on each of the Digs Desktop and

13    the Digs App, under and pursuant to 17 U.S.C. § 504(c) for those of the Infringed Images first

14    infringed by Zillow after the effective date of VHT’s registration thereof.

15             141.     Alternatively, at VHT’s election, pursuant to 17 U.S.C. § 504(b), for all

16    Infringing Images, and for any images first infringed by Zillow prior to the effective date of

17    VHT’s registration thereof, VHT is entitled to its actual damages, plus all of defendants’ profits

18    attributable to the infringements, in an amount to be proved at trial.

19             142.     Defendants’ conduct is causing, and unless enjoined by this Court, will continue

20    to cause VHT great and irreparable injury that cannot be fully compensated or measured in

21    money. VHT has no adequate remedy at law.

22                                                 COUNT IV
23                                   (Contributory Copyright Infringement by
                                       Inducement – Digs Personal Boards)
24
               143.     VHT incorporates by reference paragraphs 1 through and including 108 and 120
25
      through and including 126 set forth hereinabove, as if the same were fully set forth herein.
26

27
     SECOND AMENDED COMPLAINT FOR
                                                                                  Davis Wright Tremaine LLP
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 1             144.     If and to the extent VHT’s photographs were posted to the Digs Site (including

 2    both Desktop Digs and the Digs App) by Zillow Digs users, those users have infringed and are

 3    infringing VHT’s rights in its registered works by, inter alia, posting infringing copies of

 4    VHT’s copyrighted works onto their Personal Boards on the Digs Site (where they are viewable

 5    by other users of Digs) and publicly displaying such infringing copies, without authorization.

 6    Those Zillow Digs users are consequently directly infringing VHT’s exclusive rights of

 7    reproduction, distribution, and public display under 17 U.S.C. §§ 106(1), (3) and (5).

 8             145.     Defendants are liable for inducing those infringing acts by those Zillow Digs

 9    users since they operate the Digs Site with the object of promoting its use to infringe VHT’s

10    copyrights and, by their clear expression and other affirmative steps including but not limited to

11    (i) inviting and encouraging Digs users to post for unauthorized and unlicensed uses; (ii) failing

12    to monitor the Digs Site for infringements; (iii) inviting users to post copyright-protected

13    images from Digs to social media; (iv) failing to provide filtering tools or other means to

14    prevent or discourage users from importing infringing images to the Digs Site; and (v) inserting

15    advertising and/or promotion that is directly linked to specific Infringing Images. In so doing,

16    defendants are actively, knowingly and intentionally taking steps to induce copyright

17    infringement by Zillow Digs users.

18             146.     Defendants at all times have been and are fully aware that VHT’s works,

19    including the Infringing Images, are subject to valid and subsisting copyright protection and

20    available for authorized licensing. Defendants at all times have been and are also aware that

21    Digs users are employing the Digs Site and the services provided through that site to

22    unlawfully reproduce, distribute and publicly display VHT’s copyrighted works. Defendants

23    intend, encourage, and induce Zillow Digs users to employ the Digs Site in this fashion so that

24    defendants have monetary gain directly attributable to those infringements.

25             147.     Defendants’ acts have been willful, intentional, and purposeful, in wholesale

26    disregard of and indifferent to the rights of VHT.

27
     SECOND AMENDED COMPLAINT FOR
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 1             148.     As a direct and proximate result of defendants’ contributory infringement of

 2    VHT’s copyrights and exclusive rights under the Copyright Act, VHT is entitled to the

 3    maximum statutory damages for each photograph infringed on each of the Digs Desktop and

 4    the Digs App, under and pursuant to 17 U.S.C. § 504(c) for those of the Infringed Images first

 5    infringed by Zillow after the effective date of VHT’s registration thereof.

 6             149.     Alternatively, at VHT’s election, pursuant to 17 U.S.C. § 504(b), for all

 7    Infringing Images, and for any images first infringed by Zillow prior to VHT’s registration

 8    thereof, VHT is entitled to its actual damages plus all of defendants’ profits attributable to the

 9    infringements, in an amount to be proved at trial.

10             150.     Defendants’ conduct is causing, and unless enjoined by this Court, will continue

11    to cause VHT great and irreparable injury that cannot be fully compensated or measured in

12    money. VHT has no adequate remedy at law.

13                                                COUNT V
14                     (Vicarious Copyright Infringement – Digs Site Personal Boards)
15             151.     VHT incorporates by reference paragraphs 1 through and including 108 and 120

16    through and including 126 set forth hereinabove, as if the same were fully set forth herein.

17             152.     If and to the extent VHT’s photographs were posted to the Digs Site (including

18    both Desktop Digs and the Digs App) by Zillow Digs users, those users have infringed and are

19    infringing VHT’s rights in its registered works by, inter alia, posting infringing copies of

20    VHT’s copyrighted works onto their Personal Boards on the Digs Site (where they are viewable

21    by other users of Digs) and publicly displaying such infringing copies, without authorization.

22    Those Zillow Digs users are consequently directly infringing VHT’s exclusive rights of

23    reproduction, distribution, and public display under 17 U.S.C. §§ 106(1), (3) and (5).

24             153.     Defendants are vicariously liable for the infringing acts of Zillow Digs users.

25    Defendants provide a forum, i.e. the Digs Site, to which users can post and do post, reproduce

26    and display the Infringing Images. Defendants have both the right and the ability to supervise

27    and/or control Digs users’ posting, reproduction and display of infringing content, and to
     SECOND AMENDED COMPLAINT FOR
                                                                                 Davis Wright Tremaine LLP
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 1    prevent Digs users from infringing VHT’s copyrighted works and purposefully and wantonly

 2    fail to do so.

 3             154.     Defendants significantly and directly benefit from the infringement by Zillow

 4    Digs users. On information and belief, the availability of the additional infringing copyrighted

 5    works on the Digs Site (in addition to the images posted by Zillow itself) acts as a substantial

 6    added draw, attracting more users to the Digs Site and to the Listing Site and increasing the

 7    amount of time they spend there once they visit, optimizing search engine results, and

 8    maximizing Zillow’s revenues therefrom.

 9             155.     On information and belief, defendants derive substantial advertising revenue tied

10    directly to the volume of traffic they are able to attract to the Digs Site and to the Listing Site as

11    the direct and proximate result of the number, quality, popularity, and variety of copyrighted

12    images, including the Infringed Images, which appear on the site.

13             156.     Defendants’ acts of infringement have been willful, intentional, and purposeful,

14    in wholesale disregard of and indifferent to the rights of VHT.

15             157.     As a direct and proximate result of defendants’ infringement of VHT’s

16    copyrights and exclusive rights under the Copyright Act, VHT is entitled to the maximum

17    statutory damages for each photograph infringed on each of the Digs Desktop and Digs App,

18    under and pursuant to 17 U.S.C. § 504(c) for those of the Infringed Images first infringed by

19    Zillow after the effective date of VHT’s registration thereof.

20             158.     Alternatively, at VHT’s election pursuant to 17 U.S.C. § 504(b) for all

21    Infringing Images and for any images first infringed by Zillow prior to VHT’s registration

22    thereof, VHT is entitled to its actual damages plus all of defendants’ profits attributable to the

23    infringements, in an amount to be proved at trial.

24             159.     Defendants’ conduct is causing, and unless enjoined by this Court, will continue

25    to cause VHT great and irreparable injury that cannot be fully compensated or measured in

26    money. VHT has no adequate remedy at law.

27
     SECOND AMENDED COMPLAINT FOR
                                                                                    Davis Wright Tremaine LLP
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                                            PRAYER FOR RELIEF
 1
               WHEREFORE, VHT prays for judgment against defendants and each of them as
 2
      follows:
 3
               A.       For a declaration that defendants have infringed VHT’s copyrights in each of the
 4
      Infringed Images which appear on the Listing Site and the Digs Site, both directly and
 5
      secondarily, including in both Desktop Digs and the Digs App.
 6
               B.       For a permanent injunction requiring that defendants and their agents, servants,
 7
      employees, officers, attorneys, successors, licensees, partners and assigns, and all persons
 8
      acting in concert or participation with each or any of them, cease directly or indirectly
 9
      infringing, or causing, enabling, facilitating, encouraging, promoting, inducing or participating
10
      in the infringement of any of VHT’s copyrights or exclusive rights protected by the Copyright
11
      Act, whether now in existence or hereafter created.
12
               C.       For maximum statutory damages including such damages for willful
13
      infringement for each separate act of infringement in each of the Listing Site, Digs Desktop,
14
      and the Digs App, pursuant to 17 U.S.C. § 504(c).
15
               D.       Alternatively, at VHT’s election pursuant to 17 U.S.C. § 504(b), for each VHT-
16
      owned image or derivative thereof first posted, reproduced, displayed, or distributed on the
17
      Digs Site prior to the effective date of VHT’s registration thereof, and for each VHT-owned
18
      image or derivative thereof of a home that is not for sale posted, reproduced, displayed, or
19
      distributed on the Listing Site prior to the effective date of VHT’s registration thereof, actual
20
      damages plus defendants’ infringing profits attributable to the infringements, in an amount to
21
      be proved at trial.
22
               E.       For VHT’s costs, including its reasonable attorneys’ fees, pursuant to 17 U.S.C.
23
      § 505.
24
               F.       For pre- and post-judgment interest according to law.
25
               G.       For such other and further relief as this Court may deem just and proper.
26

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     SECOND AMENDED COMPLAINT FOR
                                                                                  Davis Wright Tremaine LLP
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 1             Dated this 23rd day of August, 2016.
                                                      DAVIS WRIGHT TREMAINE LLP
 2                                                    Attorneys for Plaintiff VHT Studios, Inc.
 3
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 4                                                       Jonathan M. Lloyd, WSBA #37413
 5
                                                      By s/ Max B. Hensley
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 7                                                       Seattle, WA 98101-3045
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                                        CERTIFICATE OF SERVICE
 1
               I hereby certify that on August 23, 2016, I electronically filed the foregoing with the
 2
      Clerk of the Court using the CM/ECF system, which will send notification of such filing to
 3
      those attorneys of record registered on the CM/ECF system. All other parties (if any) shall be
 4
      served in accordance with the Federal Rules of Civil Procedure.
 5
               DATED this 23rd day of August, 2016.
 6
                                                         Davis Wright Tremaine LLP
 7
                                                         Attorneys for Plaintiff VHT, Inc.
 8

 9                                                       By s/ Jonathan M. Lloyd
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11                                                          Telephone: (206) 622-3150
                                                            Fax: (206) 757-7700
12                                                          E-mail: jonathanlloyd@dwt.com

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                           Exhibit 8
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                          Exhibit 10
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                                         • See detailed Instructions.      • Sign the form at line a.
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                                                                                                                        EXAMINED BY                                                                        PORMVA

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DO NOT WRITE ABOVE THIS UNE. IF YOU NEED MORE SPACE, USE A SEPARATE CONTINUATION SHEET.
PREVIOUS REGISTRATION Has registration fur this work, or fur an earlier version of this work, already been made in the Copyright Office?
Cl Yes  Cl No If your answer is "Yes," why is another registration being sought? (Check appropriate box.) T
a. Q This is the first published edition of a work previously registered in unpub&hed form.
b. a This is the first application submitted by this author as copyright claimant.
~ Cl This is a changed version of the work, as shown by space 6 on this application.
If your answer is "Yes," give: Previous Regbtration Number T                       Year of Registration T
                                                                                                                                                                                                                 5
DERIVATIVE WORK OR COMPILATION Complete both space 6a and 6b for a derivative work; complete only 6b for a compilation.


                                                                                                                                                                                                                 6
a. Preexisting Material Identify any preexisting work or works that this work is based on or incorporates. T

   Previously published photographs
                                                                                                                                                                                                   a    See lnstructlona
                                                                                                                                                                                                        b8lonl completing
                                                                                                                                                                                                        111ia lj)8C8.
b. Material Added to TIUs Work Give a brief, general statement of the material that has been added to this work and in which copyright is claimed. T

                                                                                                                                                                                                   b
DEPOSIT ACCOUNT If the registration fee is to be charged to a Deposit Account estab&hed in the Copyright Office, give name and number of Account.
Name T
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CORRESPONDENCE Give name and address to which correspondence about this application should be sent. Name;Address/Apt;City!State/Zip T
                                                                                                                                                                                                   a              7
 Alain Villeneuve, Vedder Price
 222 N. LaSalle St., 25th Floor, Chicago, IL 60601
                                                                                                                                                                                                   b
Area code and daytime telephone number                     ( 312 )609-7745                                                                Fax number             ( 312 )609-5005
Email     avilleneuve@vedderprice.com
CERTIFICATION,. I, the undersigned, hereby certify that I am the

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                                                                          check only one~
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                                                                                                                              claimant
                                                                                                       Cl owner of c:xclusive right(s)
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                                                                                                          Name o1 author or olher copyright dalmant, or owner oiiiXCIUtlive right(a) A
                                                                                                                                                                                                                 8
                            o the work identified in this application and that the statements made by me in this application are correct to the best of my knowledge.

                                                this application gives a date of publication in space 3, do not sign and submit it before that date.
                                                                                                                                                           July 15, 2015
                                                                                                                                                   Date



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                     Chicago, IL 60601

'17 U.S.C. §506(e): Any person whO knowingly makea a lalae repreaantallon of a material fact in the application for copyright registration provided for by section 409, or in any written statement flied In connection
with the application, lhall be lined not more than $2.600.
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